Case 1:20-cv-07816-LJL-KHP Document3 Filed 09/22/20 Page1of1

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

Plaintiff,
Display Technologies, LLC

Leantegra, Inc.

Defendant.

Case No 1:20-cv-7816

Rule 7.1 Statement

Pursuant to Federal Rule of Civil Procedure 7.1 [formerly Local

General Rule 1.9] and to enable District Judges and Magistrate Judges of the Court
to evaluate possible disqualification or recusal, the undersigned counsel for

Display Technologies, LLC (a private non-governmental party)

certifies that the following are corporate parents, affiliates and/or subsidiaries of

said party, which are publicly held.

Patent Asset Management, LLC

Date: 09/22/2020 Jay Johnson =

Daw 20800

Signature of Attorney

Attorney Bar Code:

Form Rule7_1.pdf SDNY Web 10/2007

